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                     No. 24-4099

IN THE UNITED STATES COURT OF APPEALS
         FOR THE SIXTH CIRCUIT

                 SARAH BUNTURA,

                                     Plaintiff-Appellant,

                          v.

         FORD MOTOR COMPANY, et al.

                                     Defendants-Appellees.


    Appeal from the United States District Court
 for the Northern District of Ohio, Eastern Division
           Honorable J. Philip Calabrese


          Brief for Defendant-Appellee
             Ford Motor Company

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  Disclosure of Corporate Affiliations and Financial Interests

     Under 6th Cir. R. 26.1, Ford Motor Company makes these

disclosures:

     1.    Is said party a subsidiary or affiliate of a publicly owned

corporation?

           Answer: No.

     2.    Is there a publicly owned corporation, not a party to the

appeal, that has a financial interest in the outcome?

           Answer: No.



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Dated: March 5, 2025




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               Statement Regarding Oral Argument

     The district court’s dismissal of this case on res judicata grounds is

straightforward as is the applicable law. Oral argument is unnecessary.




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                      Statement of Jurisdiction

     The Court has jurisdiction over this appeal. The district court’s

judgment was entered on November 29, 2024. R. 5, PageID.91. Plaintiff-

Appellant Buntura timely moved for reconsideration under Rule 59(e) on

December 13, 2024. R. 6, PageID.92. The district court denied that

motion on December 16, 2024. R. 7, PageID.97-99. Buntura filed a notice

of appeal on December 20, 2024 that states that she is appealing both the

final judgment and the denial of the motion for reconsideration. R. 10,

PageID.117. This Court thus has jurisdiction to hear the appeal.




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                    Statement of Issue Presented

     Res judicata prevents the re-litigation of claims that were—or could

have been—brought in an earlier proceeding that ended with a decision

on the merits. Buntura argues that the district court erred in dismissing

her Fair Credit Reporting Act and National Labor Relations Act claims.

But she admits that both claims were or could have been raised in an

earlier lawsuit that was dismissed for failure to state a claim, which is a

merits dismissal. Should the district court’s judgment be affirmed?




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                          Statement of the Case

     This is the second lawsuit involving identical claims by Plaintiff-

Appellant Sarah Buntura. It was dismissed on the basis of res judicata.

     The First Lawsuit. The first lawsuit was filed on July 31, 2024.

See Buntura v. Ford Motor Co. et al., No. 1:24-cv-01313 (N.D. Ohio),

ECF No. 1 (“First Lawsuit”). In that suit, Buntura complained about

Ford’s failure to hire her several months earlier, and alleged claims

against Ford under Title VII, the Fair Credit Reporting Act (“FCRA”),

the Whistleblower Protection Act, an Ohio anti-retaliation statute, and

state-law promissory estoppel. Id. at PageID.6-8. Buntura also claimed

that she had filed a charge with the National Labor Relations Board,

but did not include a National Labor Relations Act (“NLRA”) claim in

her complaint. Id. at PageID.5, ¶ 25.

     The district court, acting sua sponte and before Ford was served,

issued an opinion and order dismissing the First Lawsuit. It held that

Buntura had failed to state a claim for her federal-law claims. No. 1:24-

cv-01313 (N.D. Ohio), ECF No. 3, PageID.29-31. The Court issued its

judgment the same day. Id., ECF No. 4. On October 16, 2024, Buntura

moved for leave to file an amended complaint, with the proposed



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amended complaint alleging only federal claims: the Title VII and

FCRA claims she had raised previously, and a new claim for violation of

the NLRA that was based on factual allegations that she previously

pled in her complaint. Id., ECF No. 5, PageID.37. On October 17, 2024,

the district court held that the proposed amendment was futile and

denied the motion. Id., ECF No. 6. Buntura did not appeal from the

district court’s judgment or the order denying leave to amend.

     The Second Lawsuit. Instead, Buntura filed a second lawsuit,

Case No. 1:24-01811 (“Second Lawsuit”), presently before this Court. R.

1, PageID.1-7. As Buntura wrote, the complaint in the Second Lawsuit

“arises from the same facts and claims as the prior case, Case No. 1:24-

cv-1313.” R. 1, PageID.2. The Second Lawsuit Complaint is broadly

similar to the proposed amended complaint that the district court held

futile in the First Lawsuit—including the two federal claims (under the

NLRA and FCRA) that she claims were improperly dismissed in her

appellate brief. Compare First Lawsuit, No. 1:24-cv-01313 (N.D. Ohio),

ECF No. 5-1, PageID.37-42 with Second Lawsuit, R. 1, PageID.1-7.

     The district court—reciting the above history—dismissed the

complaint, holding that res judicata barred the Second Lawsuit because



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it arose out of the same facts and circumstances as the First Lawsuit. R.

4, PageID.86-90.

     On December 13, 2024, Buntura filed a motion to alter or amend

the judgment under Rule 59(e) or 60(b). R. 6, PageID.92-96. In the

motion, Buntura conceded (again) that the “second complaint did not

raise new claims” but instead “clarified and expanded upon the same

factual allegations made in the first complaint.” Id., PageID.94. She

then made a perfunctory argument that the dismissal of the First

Lawsuit and denial of amendment based on futility was not a ruling “on

the merits” and thus res judicata did not apply. See id.

     The district court denied the motion for reconsideration on

December 16, 2024. R. 7, PageID.97-99. It held that—contrary to what

Buntura argued—the court’s finding of futility in the First Lawsuit

reflected a merits determination. See id., PageID.98.

     On December 20, 2024, Buntura filed a notice of appeal from the

final judgment and the order denying reconsideration in the Second

Lawsuit. R. 10, PageID.117. Ford was served with the notice of

appeal—the first time it was served in either suit—on January 10, 2025.

See Appellate Docket #5, p. 1. In her brief, Buntura’s only specific



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argument is that the district court erred in dismissing her NLRA and

FCRA claims. See Appellant’s Br. at 5-6, 8.

                           Standard of Review

     This Court reviews “de novo a district court’s application of the

doctrine of res judicata.” Bragg v. Flint Bd. of Educ., 570 F.3d 775, 776

(6th Cir. 2009).

                          Summary of Argument

     A straightforward application of the res judicata doctrine disposes

of Appellant Sarah Buntura’s appeal. The doctrine prevents both (1) the

re-litigation of claims that were actually brought in an earlier lawsuit

that ended with a final judgment on the merits; and (2) claims that

could have been brought in the original proceeding, but were not.

     Here, Buntura’s appellate brief argues that the district court

misconstrued her FCRA argument and improperly dismissed her NLRA

claim under the doctrine of res judicata. But as the district court held,

both the FCRA claim and the NLRA claim are barred by res judicata.

She pled her FCRA claim in an earlier lawsuit, which was dismissed for

failure to state a claim—which is a final decision on the merits for

purposes of res judicata. And as she admits, the facts supporting her



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NLRA claim were pled in the first lawsuit; she simply did not plead an

NLRA violation as a distinct cause of action in that matter. Because she

could have brought the NLRA claim in the first lawsuit—and, indeed,

attempted to do so in a proposed amended complaint that was denied on

futility grounds—it is also barred by res judicata.

                               Argument

     On appeal, Buntura argues that the district court (1) erroneously

dismissed her NLRA claim under the doctrine of res judicata; and (2)

that the district court misinterpreted the scope of the Fair Credit

Reporting Act. See Appellant’s Br. at 5-6. But—as she concedes—the

facts underpinning her new NLRA claim were “clearly referenced in

[her] first” lawsuit. Id. And that First Lawsuit also included an express

claim under the FCRA. A straightforward application of the doctrine of

res judicata thus prevents her from litigating either claim in this

Second Lawsuit, and the district court’s judgment should be affirmed.

I.   Res judicata applies when an earlier lawsuit ended with a
     decision on the merits, and the subsequent claims were or
     could have been raised in that earlier lawsuit.

     Under the “doctrine of res judicata as developed in the case law of”

the Supreme Court, a “final judgment on the merits of an action



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precludes the parties or their privies from relitigating issues that were

or could have been raised in that action.” Federated Dep’t Stores, Inc. v.

Moitie, 452 U.S. 394, 398 (1981). Res judicata applies even if a party

alleges an “erroneous conclusion” in the first suit; any error in the first

matter “is not open to collateral attack, but can be corrected only by a

direct review and not by bringing another action upon the same cause”

of action. Id. (quoting Baltimore S.S. Co. v. Phillips, 274 U.S. 316, 325

(1927)). The doctrine thus “precludes not only relitigating a claim or

cause of action previously adjudicated, it also precludes litigating a

claim or defense that should have been raised, but was not, in a claim

or cause of action previously adjudicated.” Gargallo v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 918 F.2d 658, 660–61 (6th Cir. 1990).

     Buntura filed the First Lawsuit. Supra at 3-4. And as discussed

below, it (A) ended on the merits; and (B), Buntura raised or could have

raised both claims she addresses on appeal. Res judicata thus applies.

     A.    The dismissal of Buntura’s first lawsuit for failure to
           state a claim was a final decision on the merits.

     The First Lawsuit was dismissed under 28 U.S.C. § 1915(e), which

allows the court to dismiss an in forma pauperis lawsuit if it “fails to

state a claim on which relief may be granted.” See id. § 1915(e)(2)(B)(ii).


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The § 1915(e) standard for failure to state a claim is identical to the

Rule 12(b)(6) standard. See Hill v. Lappin, 630 F.3d 468, 470-71 (6th

Cir. 2010); Brand v. Motley, 526 F.3d 921, 924 (6th Cir. 2008).

     A dismissal for failure to state a claim under Rule 12(b)(6) is a

“judgment on the merits” to which res judicata attaches. Federated

Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 399 n.3 (1981) (citing Rule

12(b)(6) standard); see also, e.g., Wilkins v. Jakeway, 183 F.3d 528, 533

n.6 (6th Cir. 1999) (“a dismissal for failure to state a claim” is

“considered a dismissal on the merits”). Thus, a dismissal for failure to

state a claim under § 1915(e)—which is identical to a Rule 12(b)(6)

dismissal—is also a judgment on the merits. See id.; see also Coleman v.

Lab. & Indus. Rev. Comm’n of Wisconsin, 860 F.3d 461, 470 (7th Cir.

2017) (holding § 1915(e)(2)(B)(ii) dismissal for failure to state a claim is

a judgment on the merits for res judicata purposes ); Cieszkowska v.

Gray Line New York, 295 F.3d 204, 206 (2d Cir. 2002) (same).

     B.    Buntura’s FCRA claim was raised in the First Lawsuit
           and the NLRA claim could have been; both are barred
           by res judicata.

     Buntura’s appellate brief challenges the dismissal of her FCRA

and NLRA claims. See Appellant’s Br. 5-8. The FCRA claim, however,



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was expressly raised in the First Lawsuit. Indeed, Buntura’s primary

appellate argument takes issue with language regarding the FCRA

from the district court’s opinion in the First Lawsuit. Compare

Appellant Br. at 6 with No. 1:24-cv-01313 (N.D. Ohio), ECF No. 3,

PageID.31. But this claimed error in the district court’s First Lawsuit

FCRA ruling is immaterial; her remedy for that alleged error would

have been a direct appeal of the First Lawsuit’s judgment, not filing the

Second Lawsuit. Federated Dep’t Stores, 452 U.S. at 394. The FCRA

claim is barred by res judicata.

     The NLRA claim is also barred by res judicata. While the First

Lawsuit did not assert an NLRA claim, Buntura concedes that factual

allegations supporting her present NLRA claim “were referenced in the

narrative portion of [her] first complaint.” Appellant’s Br. at 5. She thus

could have filed the NLRA claim in the First Lawsuit. See Gargallo, 918

F.2d at 660–61. Indeed, she filed a motion for leave to amend to add an

NLRA claim in the First Lawsuit, but the district court denied her

motion. See supra at 4. Buntura could have appealed that denial of

leave to amend, but she did not. Instead, she filed the Second Lawsuit




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raising the NLRA claim. The district court correctly dismissed that

claim as barred by res judicata.

                              Conclusion

     The district court’s judgment should be affirmed.



                                        Respectfully submitted,

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  Certificate of Compliance with Type-Volume Limit, Typeface
          Requirements, and Type-Style Requirements

     I hereby certify in accordance with Fed. R. App. P. 32(g) and 6th

Cir. Rule 32, that this Brief complies with the type-volume limitations of

Fed. R. App. P. 32(a)(7). Per that rule, type-volume limitations apply only

if the principal brief does not exceed 30 pages. But this brief does not

exceed 30 pages, even before excluding the parts of the document

exempted by Fed. R. App. P. 32(f) and 6th Cir. R. 32(b)(1).

     This Brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5)(A) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because it has been prepared in 14-point Century Schoolbook, which is a

proportionally spaced typeface with serifs.

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                         Certificate of Service

     I hereby certify that on March 5, 2025, this Brief for Defendant-

Appellee Ford Motor Company was served electronically via the Court’s

CM/ECF electronic filing system upon all parties and counsel of record.




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        Designation of Relevant District Court Documents

     Defendants-Appellee Ford Motor Company, under 6th Cir. R. 28(b),

hereby designate the following documents in the District Court’s record

as relevant to the appeal:


        Description of Entry              Docket Entry           Page ID
                                          Number (“R.”)           Range

Complaint                                         1                    1-7

Opinion and Order Dismissing                      4                86-90
Complaint
Judgment                                          5                    91

Motion for Reconsideration                        6                92-96

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